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£Tne Court will conduct ate lephone Status
conkerence with Plainttt and DeFerdant/Cross

April 29, 2025 Defendon+ DG@L Grup,-TO on
May 12,2625 at 1:30 AM. Counsel for Ploinntf
Via ECF Sholl imate ane Call.
Honorable Brian Martinotti, U.S.D.J. SO ORDERED
US. District Court for the District of New Jersey s/James B. Clark
Martin Luther King Building & U.S. Courthouse James B. Clark, U.S.M.J
50 Walnut Street =
Newark, NJ 07101 Date: Y20/a0an

Re: = OTTO Times International, Ltd. v. DGL Group, Ltd. et al.
Civ. Action No. 2:24-cv-00824-BRM-JBC

Dear Judge Martinotti:

This firm represents Plaintiff, OTTO Times International, Ltd. (“OTTO”) in the above-
reference action. We write to respectfully request that the Court reopen the case in order for
OTTO to pursue further legal action in light of Defendant, DGL Group, Ltd.’s (“DGL”)
breaches of the parties’ settlement agreement.

By way of brief background, on February 13, 2024, OTTO commenced this action against
DGL for breach of contract and unjust enrichment in connection with DGL’s failure to make
payment for goods that DGL purchased from OTTO.! The parties settled the matter and
stipulated to the dismissal of the action without prejudice. The Court entered the Stipulation
and Order of Dismissal on May 31, 2024. (ECF No. 24)

The parties’ settlement is governed by a Release and Settlement Agreement, dated May 29,
2024 (“Settlement Agreement”), backed by a confession of judgment that OTTO is entitled
to enforce in the event of DGL’s breach of the Settlement Agreement’s payment terms
requiring DGL to pay defined payment installments on or before specified dates. DGL has
repeatedly defaulted on its payment obligations under the Settlement Agreement.
Accordingly, OTTO requests that the Court reopen the case in order to allow OTTO to
enforce the terms of the Settlement Agreement.

' OTTO also named one other defendant in its complaint, however, that defendant is not
implicated in the instant application.

A PA Limited Liability Partnership | Jeffrey S. Beenstock, Managing Partner

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April 29, 2025
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Thank you for your time and consideration.

Respectfully submitted,
Wendy Chiapaikeo
WC/kw

cc: All Counsel of Record
via ECF

NG-58S8J20W #4897-6528-3130 v2
